IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
DINA CAPITANI, )
Plaintiff, Case No. 3:16-0740
v. Judge Crenshaw/Newbern
GEOFFREY ROEBUCK and
CATHY ROEBUCK, )} JURY DEMAND
Defendants.

 

MEMORANDUM OF LAW AND FACTS IN SUPPORT OF
PLAINTIFF’S MOTION TO AUTHORIZE SERVICE ON DEFENDANTS BY EMAIL
PURSUANT TO FED. R. CIV. P. 4()G)

 

Plaintiff Dina Capitani submits this memorandum of law and facts in support of her
Motion to Authorize Service on Defendants by Email Pursuant to Fed. R. Civ. P. 4(£)(3) as
follows:

I, INTRODUCTION

On April 14, 2016, Plaintiff filed this action for injunctive relief and damages against
Defendants for copyright infringement and breach of contract after 1) Defendants failed to pay
Plaintiff after licensing her copyrighted works, and 2) Defendants illegally continued and still
continue to use, reproduce, distribute, promote, and offer for sale Plaintiff's copyrighted works
after the expiration of the Licensing Agreement. See Doc. 1. Although diligent in her efforts to
serve Defendants, Plaintiff has been unable to do so via certified mail and personal service. For
the reasons set forth herein, Plaintiff respectfully requests an Order, pursuant to Fed. R. Civ. P.

4(f)(3), permitting Plaintiff to serve Defendants with process and all subsequent pleadings, court

Case 3:16-cv-00740 Document19 Filed 09/09/16 Page 1 of 11 PagelD #: 69
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 1 of 30 PagelD #: 1728
filings and discovery in this matter via email to the email address of
geoffreyroebuck@yahoo.com. Absent the ability to serve Defendants by email, Plaintiff will
almost certainly be left without the ability to pursue a remedy against them.

II. STATEMENT OF FACTS

Plaintiff Dina Capitani is an artist who created and is, therefore, the author of original
illustrations of dog breeds which are included in a volume of work titled “Doggie Doodles by
Dina Volume II.” See Doc. 1,17. Plaintiff met Defendant Geoffrey Roebuck at a trade show in
Atlanta, Georgia, in 2011, where he expressed his interest in Plaintiff's original dog illustrations.
See Exhibit 1, Declaration of Dina Capitani (“Capitani Decl.”), § 3. Since that time, Plaintiff
has always corresponded with Defendants in person, through Skype, or by email at
geoffreyroebuck@yahoo.com.

Thereafter, Plaintiff entered into a Licensing Agreement (Doc. 1-2) with Defendants,
wherein Plaintiff agreed to provide Defendants with fifty-four (54) of Plaintiffs’ original
drawings (the “Subject Works”) for Defendants to use on their products for a term of three (3)
years from August 1, 2011 until August 1, 2014. See id, J] 5-6. Pursuant to the terms of the
Licensing Agreement, Defendants agreed to pay Plaintiff, on a quarterly basis, royalties on the
total price Defendants paid to the factory to produce product bearing Plaintiff’s Subject Works,
with a guaranteed minimum to Plaintiff of $25,000 per contract year for the duration of the three-
year Licensing Agreement, for a minimum total of $75,000. See id at 4 7. In addition,
Defendants agreed to provide her quarterly written royalty reports and two samples of each
product bearing Plaintiff's Subject Works at no cost. See id. at { 8.

To date, Defendants have only paid Plaintiff approximately $900.00 of the $75,000

minimum amount due to Plaintiff. See id. at | 9. As a result, Defendants have failed to pay

2

Case 3:16-cv-00740 Document19 Filed 09/09/16 Page 2 of 11 PagelD #: 70
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 2 of 30 PagelD #: 1729
Plaintiff the monies that she is entitled to under the Licensing Agreement. See id Defendants
have also failed to provide Plaintiff any of the required quarterly royalty reports or the promised
product samples. See id.

In addition, Defendants have improperly modified Plaintiff's Subject Works by removing
her logo before placing Plaintiff's Subject Works on Defendants’ products without Plaintiff's
express written consent. See id. at] 10. Despite Plaintiff's numerous requests for Defendants to
perform their obligations under the Licensing Agreement, Defendants failed to do so. See id. at J
11. Asa result, Plaintiff terminated the Licensing Agreement on May 21, 2014, pursuant to {8.3
of the Licensing Agreement. See id. at ¥ 11.

Despite terminating the Licensing Agreement, Defendants have continued to use,
reproduce, distribute, promote and offer for sale illegal and unauthorized copies of one or more
of Plaintiff's Subject Works on Defendants’ products beyond the termination of the Licensing
Agreement. See id. at { 12. For example, since Plaintiff terminated the Licensing Agreement,
Plaintiff has discovered her Subject Works being sold on products online throughout the world
through Amazon, Ebay, Alibaba, and Movitek Import’s websites. Most recently, Plaintiff
discovered that eighteen (18) of her Subject Works! are being sold on products (clocks with
moving dog tails) on Amazon’s website (www.amazon.com). See Capitani Decl., J 13,
Collective Exhibit A and Exhibit B. Printouts from Amazon’s website show products bearing
eighteen (18) of Plaintiff's Subject Works (copies of which appear in the record at Doc. 1-1),

with the only difference being that Plaintiffs logo has been removed. See id at § 13 and

 

' The eighteen Subject Works include my illustrations of the following dog breeds: Yorkie, Goiden Retriever,
Border Collie, Yellow Labrador, Jack Russell, Chocolate Labrador, Westie, Staffordshire Bull Terrier, Springer
Spaniel, Schnauzer, Lhasa Apso, Cocker Spaniel, French Bulldog, Rottweiler, Sheltie, German Shepherd, Bichon,
and Beagle.

Case 3:16-cv-00740 Document 19 Filed 09/09/16 Page 3 of 11 PagelD #: 71
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 3 of 30 PagelD #: 1730
Collective Exhibit A. Amazon’s website indicates that the seller and/or manufacturer of these
eighteen (18) products is Passion for Pets. See id. Plaintiff also discovered that a moving dog
tail clock, bearing Plaintiff's original Golden Retriever illustration (one of Plaintiff's Subject
Works), is being sold on Movitek Import’s website (http://movitek.cl). See id at 13 and
Exhibit B. Again, Plaintiffs logo has been removed. See id Movitek Import’s website
indicates that the manufacturer of this product is Passion for Pets. See id

Defendants use the name “Passion For Pets” to sell their products. See Capitani Decl.,
1 14. Defendant Geoffrey Roebuck previously provided Plaintiff one of his business cards which
bears the business name “Passion for Pets.” See id. at € 14 and Exhibit C. The business card
indicates that Defendant Geoffrey Roebuck is the “Managing Director,” and shows his address as
3348 El Suyo Dr., San Ramon, California, 94583, and his email address as
geffreyroebuck@yahoo.com. See id.

Plaintiff has attempted to serve Defendants at the El Suyo Drive address in San Ramon,
California, where it was believed that Defendants resided. See Capitani Decl., | 15. However,
Plaintiff was not been successful in doing so. See id. at | 15. Plaintiff initially attempted to
serve Defendants at the El Suyo Drive address via certified mail. See Doc. 8 and 9. However,
the certified mailings were returned unclaimed on May 24, 2016. See id. As a result, Plaintiff
filed the returned unexecuted Summonses on June 14, 2016. See id.

On June 21, 2016, Plaintiff had Alias Summonses issued so that Plaintiff could attempt to
serve Defendants, through a private process server, at the El Suyo address in San Ramon,

California. See Doc, 10 and 11. Although several attempts were made to serve Defendants at

Case 3:16-cv-00740 Document 19 Filed 09/09/16 Page 4 of 11 PagelD #: 72
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 4 of 30 PagelD #: 1731
this residence, which is believed to be owned by Defendant Geoffrey Roebuck’s sister, Plaintiff
was not successful in locating and/or serving Defendants.”

Thereafter, Plaintiff attempted to serve Defendants at another address in San Ramon,
California, to where it was believed that Defendants may have moved. Although a private
process server made numerous attempts to serve Defendants at this new location, Plaintiff was
not successful in locating and/or serving Defendants.

In the meantime, Defendants unexpectedly emailed Plaintiff on July 28, 2016, from
Defendants’ email address, geffreyroebuck@yahoo.com, with the subject line “HOW WE CAN
ONCE AGAIN WORK TOGETHER.” Capitani Decl., ] 16. Therein, Defendants indicated that
they wanted to offer Plaintiff another “deal” wherein Defendants would use Plaintiff's Subject
Works to produce moving dog tail clocks and Christmas ornaments. See id at | 16 and Exhibit
D. Defendants further told Plaintiff that people loved her clocks, most of which were sold by
Defendants, including sales over the internet. See id Lastly, Defendants attached four pictures
of products bearing Plaintiff's Subject Works which Defendants wanted to sell. See id. at { 16
and Collective Exhibit E. The first picture of Collective Exhibit E {attached to the Capitani
Declaration) is a moving dog tail clock bearing Plaintiff’s illustration of a Golden Retriever from
her Subject Works. See id. This clock is identical to the Golden Retriever moving tail clocks
already being sold on Amazon and Movitek Import’s websites. See id.

Because Plaintiff had been unable to serve Defendants with the Complaint in this matter,

Piaintiff responded to Defendants’ July 28, 2016 email on August 10, 2016, and requested their

 

* Plaintiff's counsel has mailed previous motions to Defendants at this same address, via first class U.S. Mail.

However, these mailings have not been returned to Plaintiff's counsel.

5

Case 3:16-cv-00740 Document 19 Filed 09/09/16 Page 5 of 11 PagelD #: 73
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 5 of 30 PagelD #: 1732
address and phone number in the hopes that Plaintiff could finally serve Defendants. See
Capitani Decl., {| 17 and Exhibit F.

On August 11, 2016, Plaintiff received another email from Defendants from the email
address geffreyroebuck@yahoo.com. See Capitani Decl., | 18 and Exhibit G. Despite Plaintiff's
request, Defendants did not advise Plaintiff of Defendants’ address or phone number. See id
Rather, Defendants advised Plaintiff that Defendants were “back [in] Shanghai China,” but
intended to return to the United States. Id. Defendants again conveyed that they wanted to
continue using Plaintiff's Subject Works to produce the moving tail clocks, as well as, Christmas
ornaments. See id.

When Plaintiff did not respond to Defendants’ offer to continue using Plaintiff's Subject
Works, Defendant Geoffrey Roebuck emailed Plaintiff again on August 17, 2016, from the email
address geffreyrocbuck@yahoo.com. See Capitani Decl., § 19 and Exhibit H. Despite the fact
that Plaintiff terminated the Licensing Agreement with Defendants and has not entered into any
additional agreements with Defendants, Defendant Geoffrey Roebuck again asked if Plaintiff
wanted to move forward with the clocks and ornaments lines as Defendants have “put so much
money out for all the samples & shows to promote” Plaintiff's line. See id

Since terminating the Licensing Agreement, Plaintiff has not given Defendants
permission to use Plaintiffs Subject Works. See id. at 20. In addition, Plaintiff has not entered
into new agreements, nor does she wish to enter into any new agreements, with Defendants. See
id, Defendants, however, continue to use, reproduce, distribute, promote and offer for sale

illegal and unauthorized copies of Plaintiff's Subject Works. See id

Case 3:16-cv-00740 Document 19 Filed 09/09/16 Page 6 of 11 PagelD #: 74
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 6 of 30 PagelD #: 1733
I. LAW AND ARGUMENT

As stated above, Defendants claim that they are currently residing in Shanghai, China.
Federal Rule of Civil Procedure 4(f) provides the acceptable means of serving individuals in a
foreign country. Specifically, Fed. R. Civ. P. 4(f) states as follows:

Unless federal law provides otherwise, an individual--other than a minor, an

incompetent person, or a person whose waiver has been filed--may be served at a

place not within any judicial district of the United States:

(1) by any internationally agreed means of service that is reasonably calculated to

give notice, such as those authorized by the Hague Convention on the Service

Abroad of Judicial and Extrajudicial Documents;

(2) if there is no internationally agreed means, or if an international agreement

allows but does not specify other means, by a method that is reasonably calculated

to give notice:

(A) as prescribed by the foreign country's law for service in that country in an
action in its courts of general jurisdiction;

(B) as the foreign authority directs in response to a letter rogatory or letter of
request; or

(C) unless prohibited by the foreign country's law, by:

(i) delivering a copy of the summons and of the complaint to the
individual personally; or

(ii) using any form of mail that the clerk addresses and sends to the
individual and that requires a signed receipt; or

(3) dy other means not prohibited by international agreement, as the court
orders.

Fed. R. Civ. P. 4(f) (emphasis added). Therefore, pursuant to Fed. R. Civ. P. 4(f), “a party is
permitted to use an alternative means to effect service if: (1) the party obtains the permission of
the court, and (2) an international agreement does not otherwise prohibit the means of service

approved.” Chanel, Inc. v. Zhibing, No. 2:09-cv-02835, 2010 WL 1009981, *3 (W.D. Tenn.

Case 3:16-cv-00740 Document19 Filed 09/09/16 Page 7 of 11 PagelD #: 75
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 7 of 30 PagelD #: 1734
Mar. 17, 2010) (copy attached as Exhibit 2) (citing Fed.R.Civ.P. 4(\(G); Rio Props. v. Rio int'l
Lnterlink, 284 F.3d 1007, 1014 (9th Cir. 2002)).

In the case at bar, there is no international agreement that prohibits email service. Both
China and the United States have signed the Hague Convention on the Service Abroad of
Judicial and Extrajudicial Documents, Nov. 15, 1965, 20 U.S.T. 361, 658 U.N.T. S. 163 (“Hague
Convention”). See Status Table: Convention of 15 November 1965 on the Service Abroad of
Judicial and Extrajudicial Documents in Civil or Commercial Matters, Hague Conference on
Private International Law, available at https://www.hcch.net/en/instruments/conventions/status-
table/?cid=17 (last visited Sept. 9, 2016) (listing the current contracting states); see also Chanel,
Inc. v. Zhibing, 2010 WL 1009981 at *3. However, the Hague Convention does “not apply
where the address of the person to be served with the document is not known.” Popular Enters.,
LLC v. Webcom Media Group, Inc., 225 ¥.R.D. 560, 562 n. 1 (E.D. Tenn. 2004) (quoting Hague
Convention, Article 1).

Since Defendants advised Plaintiff that Defendants were currently residing in Shanghai,
China, Plaintiff has attempted to obtain from Defendants their current address. See Capitani
Decl., 1 17. However, Defendants have not been forthcoming with this information. See id. at
{ 18. Therefore, the address of Defendants in Shanghai, China is not known. As a result, the
Hague Convention does not apply. See Popular Enters., LLC, 225 F.R.D. at 562; Chanel, Inc.,
2010 WL 1009981 at *3.

Because the Hague Convention does not apply, this Court “has broad authority to
determine an appropriate alternative method of service.” Chanel, Inc., 2010 WL 100998] at *4,
However, the court-approved method of service must meet the due process requirements of

“notice reasonably calculated, under all circumstances, to apprise interested parties of the

8

Case 3:16-cv-00740 Document19 Filed 09/09/16 Page 8 of 11 PagelD #: 76
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 8 of 30 PagelD #: 1735
pendency of the action and afford them an opportunity to present their objections.” Jd. (quoting
Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314, 70 S.Ct. 652, 94 L.Ed. 865
(1950)).

Serving Defendants “by email not only meets constitutional standards, but also is the
method of service most likely to reach” Defendants. Chanel, Inc., 2010 WL 1009981 at *4.
Plaintiff has already made numerous attempts to serve Defendants at two addresses in San
Ramon, California, but has been unable to locate Defendants. Since that time Defendants have
emailed Plaintiff multiple times from the email address geoffreyroebuck@yahoo.com, the same
email address that Plaintiff used to correspond with Defendants since 2011. In addition,
Defendants have advised Plaintiff that they are currently residing in Shanghai, China. However,
although requested, Defendants failed to provide Plaintiff with their Shanghai, China address.

Under the facts and circumstances presented here, Fed. R. Civ. P. 4(f)(3) clearly
authorizes the court to direct service upon Defendants by email. See Popular Enters., LLC, 225
F.R.D. at 562. In addition, Rule 4({(3) is:

expressly designed to provide courts with broad flexibility in tailoring methods of

service to meet the needs of particularly difficult cases. Such flexibility

necessarily includes the utilization of modern communication technologies to
effect service when warranted by the facts.

id.

Email is the method of service most likely to reach Defendants and is, therefore,
“reasonably calculated to apprize defendant of the pendency of this action and afford it an
opportunity to respond.” /d. at 563. Moreover, “when faced with an international e-business
scofflaw, playing hide-and-seek with the federal court, e-mail may be the only means of

effecting service of process.” Id. (quoting Rio, 284 F.3d at 1018). Such is the case here.

Case 3:16-cv-00740 Document19 Filed 09/09/16 Page 9 of 11 PagelD #: 77
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 9 of 30 PagelD #: 1736
IV. CONCLUSION

For the foregoing reasons, Plaintiff Dina Capitani respectfully requests this Court enter
an Order permitting Plaintiff to serve the Summonses and Complaint, as well as, all subsequent

pleadings and discovery upon Defendants by email to the email address of

geoffreyroebuck@yahoo.com.

DICKINSON WRIGHT PLLC

By: /s/ Autumn L. Gentry
Autumn L, Gentry, #20766
R. Cameron Caldwell, #29084
424 Church Street, Suite 1401
Nashville, Tennessee 37219
Phone: (615) 244-6538
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Attorneys for Plaintiff Dina Capitani

10

Case 3:16-cv-00740 Document19 Filed 09/09/16 Page 10 of 11 PagelD #: 78
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 10 of 30 PagelD #: 1737
CERTIFICATE OF SERVICE

Thereby certify that a true and exact copy of the foregoing has been served, via email and
United States Mail, first class, postage pre-paid, to the following:

Geoffrey Roebuck

Cathy Roebuck

3348 El Suyo Dr.

San Ramon, CA 94583-3032

geoffreyroebuck@yahoo.com

Geoffrey Roebuck

Cathy Roebuck

330 8 Overlook Dr.

San Ramon, CA, 94582-4544

Dated: September 9, 2016.

/s/ Autumn L, Gentry

Autumn L. Gentry
NASHVILLE 99997-1358 577369v1

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Case 3:16-cv-00740 Document 19 Filed 09/09/16 Page 11 of 11 PagelD #: 79
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 11 of 30 PagelD #: 1738
EXHIBIT 1

Case 3:16-cv-00740 Document 19-1 Filed 09/09/16 Page 1 of 7 PagelD #: 80
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 12 of 30 PagelD #: 1739
IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
DINA CAPITANI, )
Plaintiff, Case No. 3:16-0740
v. Judge Crenshaw/Bryant
GEOFFREY ROEBUCK and
CATHY ROEBUCK, ) JURY DEMAND
Defendants.

 

DECLARATION OF DINA CAPITANI

 

I, Dina Capitani, submit this Declaration in support of Plaintiff's Motion to Authorize
Alternative Service Of Process On Defendants Pursuant To Fed. R. Civ. P. 4(f)(3):

1. The factual statements set forth in this Declaration are true and are based on my
personal knowledge.

2. I am in the Plaintiff in this matter.

3. I met Defendant Geoffrey Roebuck at a trade show in Atlanta, Georgia, in 2011,
where he expressed his interest in my original illustrations of dog breeds.

4, Since meeting Defendant Geoffrey Roebuck in 2011, I have always corresponded
with Defendants either in person, through Skype, or by email at geoffreyroebuck@yahoo.com.

. On or about July 28, 2011, I entered into a Licensing Agreement (Doc. 1-2) with
Defendants, wherein I agreed to provide Defendants with copies of twenty-nine (29) of my
original illustrations for Defendants to use on their products for a term of three (3) years from

August 1, 2011 until August 1, 2014.

Case 3:16-cv-00740 Document 19-1 Filed 09/09/16 Page 2 of 7 PagelD #: 81
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 13 of 30 PagelD #: 1740
6. On or about September 27, 2011, the parties agreed to amend the Licensing
Agreement to permit Defendants to license twenty-five (25) additional original illustrations, for a
total of fifty-four (54) original drawings (the “Subject Works”) from me to use on Defendants’
products for the duration of the original Licensing Agreement.

7. Pursuant to the terms of the Licensing Agreement, Defendants agreed to pay me a
royalty of 5% of the total price Defendants paid to the factory to produce product bearing the
Subject Works (“Gross Revenues”). See Doc. 1-2, J 3.2. Defendants further agreed that such
payments would be made on a quarterly basis. See id at 7 3.3 and 3.4. However,
notwithstanding the foregoing, Defendants guaranteed they would pay me a minimum of
$25,000 per contract year for the duration of the three-year Licensing Agreement, which equals a
total of $75,000. See id at $3.6.

8, Pursuant to the terms of the Licensing Agreement, Defendants agreed to provide
me with written royalty reports on a quarterly basis, whether or not a royalty was due. See id. at
{ 3.3. In addition, Defendants agreed to provide me two samples of each product bearing the
Subject Works at no cost. See id. at { 4.4.

9, To date, Defendants have only paid me approximately $900.00, As a result,
Defendants have failed to pay me the monies that I am entitled to under the Licensing
Agreement. Defendants have also failed to provide me any of the required quarterly royalty
reports. Lastly, Defendants have failed to provide me two samples of each product bearing the
Subject Works.

10. In addition, Defendants have improperly modified my Subject Works by
removing my logo before placing the Subject Works on Defendants’ products without my

express written consent.

Case 3:16-cv-00740 Document 19-1 Filed 09/09/16 Page 3 of 7 PagelD #: 82
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 14 of 30 PagelD #: 1741
11. Despite my numerous requests for Defendants to perform their obligations under
the Licensing Agreement, Defendants have failed to do so. As a result, I terminated the
Licensing Agreement on May 21, 2014, pursuant to ¥ 8.3 of the Licensing Agreement.

12, Defendants have continued to use, reproduce, distribute, promote and offer for
sale illegal and unauthorized copies of one or more of my Subject Works on Defendants’
products beyond the termination of the Licensing Agreement.

13. For example, since the termination of my agreement with Defendants, I have
discovered my Subject Works being sold on products online throughout the world through
Amazon, Ebay, Alibaba, and Movitek Import’s websites. 1 most recently discovered that
eighteen (18) of my Subject Works! are being sold on products (clocks with moving dog tails) on
Amazon’s website (www.amazon.com). A true and correct copy of the printouts from Amazon's
website bearing my Subject Works are attached as Collective Exhibit A. These printouts show
products bearing eighteen (18) of my same Subject Works (copies of which appear in the record
at Doc. 1-1), including my original Golden Retriever illustration, with the only difference being
that my logo has been removed. Amazon’s website indicates that the seller and/or manufacturer
of these eighteen (18) products is Passion for Pets. I also discovered that a moving dog tail
clock, bearing my original Golden Retriever illustration (one of my Subject Works), is being sold
on Movitek Import’s website (http://movitek.cl), Again, my logo has been removed. A true and
correct copy of the printout from Movitek Import’s website bearing my Golden Retriever
illustration is attached as Exhibit B. Movitek Import’s website indicates that the manufacturer

of this product is Passion for Pets.

 

' The eighteen Subject Works include my illustrations of the following dog breeds: Yorkie, Golden Retriever,
Border Collie, Yellow Labrador, Jack Russell, Chocolate Labrador, Westie, Staffordshire Bull Terrier, Springer
Spaniel, Schnauzer, Lhasa Apso, Cocker Spaniel, French Bulldog, Rottweiler, Sheltie, German Shepherd, Bichon,
and Beagle,

Case 3:16-cv-00740 Document 19-1 Filed 09/09/16 Page 4 of 7 PagelD #: 83
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 15 of 30 PagelD #: 1742
14, [am aware that Defendants use the name “Passion For Pets” to sell their products,
Defendant Geoffrey Roebuck previously gave me one of his business cards which bears the
business name “Passion for Pets.” A true and correct copy of this business card is attached as
Exhibit C. The business card indicates that Defendant Geoffrey Roebuck is the “Managing
Director,” and shows his address as 3348 E] Suyo Dr., San Ramon, California, 94583, and his
email address as geffreyroebuck@yahoo.com. See id

15. [have tried to serve Defendants at their 3348 El Suyo Dr., San Ramon, California
address. However, I have not been successful.

16. On July 28, 2016, Defendants unexpectedly emailed me from Defendants’ email
address geffreyroebuck@yahoo.com with the subject line “HOW WE CAN ONCE AGAIN
WORK TOGETHER.” A true and correct copy of Defendants’ July 28, 2016 email to me is
attached as Exhibit D. Therein, Defendants indicated that they wanted to offer me a “deal”
wherein Defendants would use my Subject Works to produce moving dog tail clocks and
Christmas ornaments. See id. Defendants further told me that people loved my clocks, most of
which were sold by them, including sales over the internet. See id Lastly, Defendants attached
four pictures of products with my Subject Works which they want to sell. A true and correct
copy of these four pictures is attached as Collective Exhibit E. The first picture of Collective
Exhibit E is a moving dog tail clock bearing my illustration of a Golden Retriever from my
Subject Works. This clock is identical to the Golden Retriever moving tail clocks already being
sold on Amazon and Movitek Import’s websites. See Collective Exhibit A and Exhibit B.

17. Because I have been unable to serve Defendants with the Complaint in this

matter, f responded to Defendants’ July 28, 2016 email on August 10, 2016, and requested their

Case 3:16-cv-00740 Document 19-1 Filed 09/09/16 Page 5 of 7 PagelD #: 84
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 16 of 30 PagelD #: 1743
address and phone number in the hopes that I could finally serve Defendants. A true and correct
copy of my August 10, 2016 email to Defendants is attached as Exhibit F.

18. On August 11, 2016, I received another email from Defendants from the email
address geffreyroebuck@yahoo.com. A true and correct copy of Defendants August 11, 2016
email to me is attached as Exhibit G. Defendants did not advise me of their address or phone
number as requested. However, they did advise me that they were “back [in] Shanghai China,”
but intended to return to the United States. Jd. Defendants again conveyed that they wanted to
continue using my Subject Works to produce the moving tail clocks, as well as, Christmas
omaments, See id.

19. When I did not respond to Defendants’ offer to continue using my Subject Works,
Defendant Geoffrey Roebuck emailed me again on August 17, 2016, from the email address
getfreyroebuck@yahoo.com. A true and correct copy of Defendant Geoffrey Roebuck’s August
17, 2016 email to me is attached as Exhibit H. Despite the fact that I terminated the Licensing
Agreement and have not entered into any additional agreements with Defendants, Defendant
Geoffrey Roebuck again asked if I wanted to move forward with the clocks and ornaments lines
as Defendants have “put so much money out for all the samples & shows to promote” my line.
Id.

20. I have not given Defendants permission to use my Subject Works since
terminating the Licensing Agreement. In addition, I have not entered into new agreements, nor
do I wish to enter into any new agreements, with Defendants. Defendants, however, continue to
use, reproduce, distribute, promote and offer for sale illegal and unauthorized copies of my

Subject Works.

Case 3:16-cv-00740 Document 19-1 Filed 09/09/16 Page 6 of 7 PagelD #: 85
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 17 of 30 PagelD #: 1744
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Case 3:16-cv-00740 Document 19-1 Filed 09/09/16 Page 7 of 7 PagelD #: 86
Case 3:19-cv-00120 Document 106-1 Filed 09/04/20 Page 18 of 30 PagelD #: 1745
COLLECTIVE
EXHIBIT A

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